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March 16, 2022

VIA CM/ECF
The Honorable Richard G. Andrews
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 N. King Street
Unit 9, Room 6325
Wilmington, DE 19801-3555

Re: Interactive Games LLC v. DraftKings, Inc., C.A. No. 19-1105-RGA

Dear Judge Andrews:

Plaintiff Interactive Games LLC and Defendant DraftKings Inc. (collectively, the “Parties”)
submit this letter to advise the Court of the status of the case. This letter is in response to the
Court’s Oral Order (D.I. 30) (the “Order”) and the Parties joint status letter dated February 7,
2022,

First, DraftKings filed petitions for Inter Partes Review for all asserted patents in this case (“the
IPRs”). On January 6, 2021, the Patent Trial and Appeal Board (“PTAB”) denied institution of
IPR2020-01108 concerning ’302 Patent and instituted the remaining three IPRs. With respect to
IPR2020-01108 for which the Board denied institution, DraftKings filed a request for rehearing
on February 5, 2021, which was denied. On January 4, 2022, the PTAB issued final written
decisions (“FWDs”) finding all challenged claims of the ‘901, ’231, and ’967 unpatentable

USP 8,616,967                      IPR2020-01110                         FWD – all challenged claims
                                                                         unpatentable
USP 8,956,231                      IPR2020-01109                         FWD – all challenged claims
                                                                         unpatentable
USP 8,974,302                      IPR2020-01108                         institution denied, rehearing
                                                                         requested, and denied
USP 9,430,901                      IPR2020-01107                         FWD – all challenged claims
                                                                         unpatentable

Second, Plaintiff filed a notice of appeal in each of IPR2020-01110, IPR2020-01109, and
IPR2020-01107.

Third, the Court ordered that the stay in this case continue “until there is a PTAB resolution,
either denying institution or reaching a decision on the merits.” D.I. 25. The Court further



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dismissed Defendant’s motion to dismiss (D.I. 10) with leave to refile with updated briefing
when the case is unstayed. Id. Accordingly, there are no motions pending before the Court at this
time. However, once the stay is lifted, Defendants intend to refile their Motion to Dismiss with
respect to at least the ‘302 Patent, for which IPR was not instituted.

        As the Parties previously proposed in their joint status letter dated February 7th, the
Parties propose maintaining the stay until the resolution of all appeals.


Respectfully submitted,

/s/ Daniel M. Silver

Daniel M. Silver (#4758)

cc:     All Counsel of Record (via CM/ECF and electronic mail)




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